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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

 

 

 

 

AT SEATTLE
ROBERT JOHN PRESTON,
Plaintiff, Case No. C16-1106-JCC-MAT
Vv. REPORT AND RECOMMENDATION
RYAN BOYER, et al., **REDACTED**!
Defendants.
I. INTRODUCTION

In this 42 U.S.C. § 1983 action, plaintiff Robert Preston alleges that defendant Ryan Boyer,
now a Sergeant with the Snohomish County Sheriff's Office (“SCSO”)*, used excessive force
against him in July 2014 and that Snohomish County was negligent in hiring and retaining Set.

Boyer. Currently before the Court is the County’s motion for summary judgement on the negligent

 

' The Court will file both unredacted sealed and redacted unsealed versions of this Report and Recommendation.
Sealing and redacting are necessary to avoid disclosure of highly personal information relating to defendant Ryan

Boyer.

* Set. Boyer was a deputy at the time of the incident and an officer prior to joining the SCSO. For consistency, the
Court will refer to him as Set. Boyer throughout this Report and Recommendation.

REPORT AND RECOMMENDATION - 1

 
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hiring and retention claims against it. (Dkts. 159 (redacted), 160 (sealed).)> Plaintiff opposes the
motion. (Dkts. 184 (redacted), 187 (sealed).)* In reply, the County moved to strike the report of
plaintiff's expert, Scott DeFoe (Dkt. 191), which the Court has already denied (Dkt. 204). The
parties also filed motions to seal (Dkts. 158, 183), which the Court grants in part and denies in part
as explained herein.

Having considered the parties’ submissions regarding the motion for summary judgment,
the oral argument of counsel on November 21, 2019, the balance of the record, and the governing
law, the Court recommends that the County’s motion for summary judgment be DENIED.

Il. BACKGROUND*®
A. Interlocal Agreement Between the City of Snohomish and Snohomish County

In June 2007, the City of Snohomish hired Sgt. Boyer as a police officer. (Dkt. 166
(“Johnson Decl.”) at 95.) In 2011, the City entered into an Interlocal Agreement (‘Interlocal’’)
with the County, whereby the City’s police force would be disbanded and the SCSO would assume
law enforcement duties beginning on January 1, 2012. (See Dkt. 166-5; Johnson Decl. at ¥ 5.)
Pursuant to the Interlocal, City police officers were eligible for transfer to the SCSO as provided
in RCW 41.14.250, 260, and 270. (Dkt. 166-5 at 10.) These “transfer statutes were enacted to
give special protection and privileges within the county civil service system to city law

enforcement employees who lose their jobs when the City contracts to have law enforcement

 

3 The County filed a redacted unsealed version of its motion (Dkt. 159), as well as an unredacted sealed version (Dkt.
160). All subsequent references will be to the unredacted sealed version, although page numbers are the same for
both.

* As with the County’s motion for summary judgment, the Court will cite to plaintiff's unredacted sealed opposition
to the County’s motion.

> Additional background facts and procedural history are available at Docket Numbers 42, 88, 113, and 152, and will
not be repeated here.

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services provided by the County.” Stone v. Chelan Cnty. Sheriff's Dep't, 110 Wash.2d 806, 809
(1988). The statutes, however, do not establish an unconditional right to transfer employment. Jd.
at 810. Rather, city police department employees are only eligible for transfer if they meet certain
requirements, including “the minimum standards and qualifications of the county sheriff's office.”
RCW 41.14.250.° Among other requirements, SCOS’s minimum qualifications require applicants
to pass a civil service examination, a complete background investigation, fingerprinting, a criminal
record check, a polygraph examination, a medical examination, and a psychological evaluation.
(Dkt. 166-4 at 3.) Once an employee is deemed eligible under RCW 41.14.250, “transfer of

employment shall be made.” RCW 41.14.260(a).’

 

®*RCW 14.41.250 states:

When any city or town shall contract with the county sheriff's office to obtain law enforcement
services to the city or town, any employee of the police department of such city or town who (1)
was at the time such contract was entered into employed exclusively or principally in performing
the powers, duties, and functions which are to be performed by the county sheriffs office under
such contract (2) will, as a direct consequence of such contract, be separated from the employ of the
city or town, and (3) meets the minimum standards and qualifications of the county sheriff's office,
then such employee may transfer his or her employment to the county sheriff's office as provided
for in RCW 41.14.260 and 41.14.270.

TRCW 14.41.260(a) states:

(1) An eligible employee may transfer into the county civil service system for the sheriff's office by
filing a written request with the county civil service commission and by giving written notice thereof
to the legislative authority of the city or town. Upon receipt of such request by the civil service
commission the transfer of employment shall be made. The employee so transferring will (1) be on
probation for the same period as are new employees of the sheriffs office, (2) be eligible for
promotion after completion of the probationary period as completed, (3) receive a salary at least
equal to that of other new employees of the sheriff's office, and (4) in all other matters, such as
retirement, vacation, etc., have, within the county civil service system, all the rights, benefits, and
privileges that he or she would have been entitled to had he or she been a member of the county
sheriff's office from the beginning of his or her employment with the city or town police department.
The city or town shall, upon receipt of such notice, transmit to the county civil service commission
a record of the employee’s service with the city or town which shall be credited to such member as
a part of his or her period of employment in the county sheriff's office. The sheriff may appoint the
transferring employee to whatever duties he or she feels are in the best interest of the department
and the individual.

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B. Sgt. Boyer’s SCSO Application

In November 2011, Sgt. Boyer submitted his application package to transfer to the SCSO.
(Johnson Decl. at 6.) The application included a background history packet, which required Set.
Boyer to disclose extensive information regarding his employment history, drug use, arrests, and
other potentially relevant information. (Dkt. 167 at 36-71.) Sgt. Boyer disclosed the following.

He was born in 1980. (/d. at 36.) He was in the Navy from March 2000 until December 2003 and

was honorably discharged. (/d. at 40, 73.) Before enlisting in the Navy, he

ke) While in the Navy, he

In 2005

and 2006 he received two speeding tickets. (/d. at 58.) Sgt. Boyer also disclosed

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After receiving his application, Lieutenant Susanna Johnson® met with Sgt. Boyer to
explain the application process, go through his application, and determine if there were any
automatic disqualifiers.’ (Jd. at § 4.) Lt. Johnson found no automatic disqualifiers and took Sgt.
Boyer for fingerprinting and a criminal history check. (/d.) She also facilitated scheduling his
polygraph and psychological evaluation. (/d.) After the meeting, she sent Sgt. Boyer’s application
package to the background investigator, Deputy Jared Reid. (/d.)
oF Deputy Reid’s Background Investigation

On November 18, 2011, Deputy Reid received Sgt. Boyer’s application package and began
to review the application and obtain additional information. (Dkt. 163 (“Reid Decl.”) at [9] 5-6;
see also Dkt. 163-1.) He sent out an email seeking input from County employees about Sgt. Boyer
and received numerous positive emails and comments from various deputies and no negative
emails. (Reid Decl. at { 6; see also Dkt. 163-2; Dkt. 167 at 74-121.) He attempted to contact Set.
Boyer’s personal and professional references, and those he reached gave positive reviews,
including Sgt. Boyer’s supervisor at the City police department. (Reid Decl. at J 6; see also Dkt.
165.) Deputy Reid reviewed Sgt. Boyer’s credit and financial history, criminal history, police
reports of prior incidents, education documents, and military documents. (/d. at ] 7.) Deputy Reid
spoke with Sgt. Boyer and his wife on several occasions to gather information, clarify information

given, answer questions from Sgt. Boyer, or review areas of concern. (/d. at J 8.)

 

® Lt. Johnson is now Chief Johnson, but to avoid confusion the Court will refer to her as Lt. Johnson,

° SCSO’s automatic disqualifiers include a felony conviction, misdemeanor conviction for moral turpitude, conviction
for domestic violence or order violation, knowingly falsifying application or personal history packet, illegal drug use
within the last five years, illegal use of certain drugs within the last ten years, manufacturing or cultivating illegal
drugs for profit, or selling drugs for profit on two or more occasions. (Dkt. 166-6.)

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Deputy Reid obtained additional information regarding Sgt. Boyer’s criminal history (Dkt.

167 at 142-196) and confirmed that he had no criminal incidents after 2002 (Dkt. 163 at ] 14). As

a part of his investigation, Deputy Reid aaa

Deputy Reid also went to the City of Snohomish Police Department to review Sgt. Boyer’s
personnel file and his application package to the City, going page-by-page through the documents.

(Reid Decl. at J 9; see also Dkt. 164; Dkt. 188 at 1-107.) Sgt. Boyer’s application disclosed

The City’s records also included the Arlington
Police reports regarding Sgt. Boyer’s February 15, 2002 arrest for assault in the 4th degree, a gross
misdemeanor. (/d. at 50-64; Reid Decl. at J 13; see also Dkt. 188 at 188 (testimony of Lt. Johnson

that 4th degree assault is a gross misdemeanor).) According to the police reports, Sgt. Boyer was

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involved in a fight outside a bar that a friend of his started. (Dkt. 188 at 57.) One witness saw
Sgt. Boyer kick the victim once in the face and once in another area, and another witness saw Sgt.
Boyer kick the victim but did not specify where the kick landed. (/d.) Sgt. Boyer plead guilty and
was sentenced to 12 months probation. (/d. at 64, 81.) After he successfully completed probation,

the charges were dismissed. (/d. at 64.) Finally, the City’s personnel file included Set. Boyer’s

psychological evaluaticn AAA
are ee and his polygraph, which he passed (id. at 77-107).

Ina memo Deputy Reid drafted after reviewing the City’s file, the deputy noted two citizen
complaints filed against Sgt. Boyer, which were deemed unfounded, and several citizen and

departmental commendations. (Dkt. 164 at 2.) He also recorded the successful polygraph

examination and the psychological evaluation iii

I 1 2150 observe that “it appeared there

were no discrepancies” between the information Sgt. Boyer provided to the City and the SCSO.
(id. at 3.) Finally, he stated that non-commissioned personnel at the City spoke highly of Set.
Boyer. (/d.)

On December 15, 2011, Deputy Reid drafted a background investigation summary and
recommendation. (Dkt. 163-5.)'° On the first page, Deputy Reid checked a box giving Sgt. Boyer
a B and recommending he be hired. (/d. at 2 (“B: Recommended: This applicant has minor issues
and would likely do a good job.”).) In the narrative portion of the report, he gave Sgt. Boyer an

A-/B+ rating and noted areas of concern as “age/life experience.” (/d. at 4.) Deputy Reid noted

 

'0 The County did not move to seal this exhibit.

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the numerous positive comments he received regarding Sgt. Boyer and Sgt. Boyer’s openness
during the investigation, concluding that it appeared Set. Boyer had “used his mistakes and learned
from them” and “made it a point to not commit the same mistakes again.” (/d.) Deputy Reid
highlighted Sgt. Boyer’s “prior drug use (predominately Marijuana) and his solicitation of a
prostitute during his U.S. Naval career.” (/d.) Deputy Reid noted that after investigating these
areas of concern, it became clear Sgt. Boyer was not proud of his actions, admitted his mistakes,
and had not participated in any such activities since at least 2005. (/d.) Deputy Reid also noted
concerns raised in Sgt. Boyer’s psychological evaluation, which Deputy Reid attributed to lack of
life experience, and stated that Sgt. Boyer currently was older and time had passed since his prior
actions. (/d.) Deputy Reid ultimately concluded that Sgt. Boyer would make a positive addition
to the SCSO staff. (/d.)

Deputy Reid turned in his background investigation report and materials to Sgt. Anthony
Aston, whose job it was to review the investigation for completeness. (See Dkt. 188 at 194, 196.)
Sgt. Aston then gave the materials to Lt. Johnson. (See id.)
D. SCSO’s Decision to Hire Sgt. Boyer

On December 20, 2011, Lt. Johnson reviewed Sgt. Boyer’s completed application
package.'! (Johnson Decl. § 7; see also Dkt. 188 at 196.) In addition to passing the background
investigation, Sgt. Boyer passed his medical examination, polygraph, and psychological
evaluation. (Johnson Decl. 7.) The results of these examinations and evaluations became a part
of the application package. (/d.) Lt. Johnson drafted a memorandum to Chief Jeffrey Miller

recommending that SCSO hire Sgt. Boyer:

 

'! Tt is unclear from the record whether the completed application package included the Arlington Police Report. (See
Dkt. 188 at 227-29.) Because the Court must view the evidence in the light most favorable to plaintiff, the Court
assumes for purposes of this Report and Recommendation that the Arlington Police Report was not included in the
completed application package.

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(Dkt. 167 at 2.) Lt. Johnson then gave her memorandum and the completed application package
to Chief Miller. (Johnson Decl. at 3; Dkt. 188 at 196.)
On December 21, 2011, Chief Miller drafted a short memorandum to Undersheriff Davis

that stated:

 

 

' The three pages Lt. Johnson flagged related to Sgt. Boyer’s criminal history and drug and alcohol use. (See Dkt.
167 at 50, 55, 56.)

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(Dkt. 167 at 6.) Undersheriff Davis then received Chief Miller’s memorandum, Lt. Johnson’s
memorandum, and the final application package for review. (See Johnson Decl. at § 8.)
Undersheriff Davis wrote on Chief Miller’s memorandum, “12-21-11 Reviewed; authorized to
hire,” and then signed his name.'* (Dkt. 167 at 6.) That same day, the entire package was returned
to Lt. Johnson to notify Sgt. Boyer of the hiring decision. (Johnson Decl. at J 8; Dkt. 188 at 199.)
E. Set. Boyer’s Employment with SCSO

Sgt. Boyer began working as a SCSO deputy on January 1, 2012. (Johnson Decl. at ¥ 9.)
Between the time of hiring and the time of his contact with plaintiff in 2014, Sgt. Boyer had no
disciplinary actions. (/d.)

II. DISCUSSION

A. Motion for Summary Judgment

The County argues (1) it is entitled to discretionary immunity, and (2) there are no disputed
issues of material fact and it is entitled to judgment as a matter of law on plaintiff's negligent hiring
and retention claims. As discussed below, the Court concludes that discretionary immunity does
not apply in this case and that disputed issues of material fact preclude summary judgment on the
negligence claims.

1. Summary Judgment Standard

Summary judgment is appropriate when the “movant shows that there is no genuine dispute
as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). The central issue is “whether

 

'S Below Undersheriff Davis's note and signature, there is another handwritten note, “12-21-11 Advised @ 1620
Hours,” followed by a signature. (Dkt. 167 at 6.) Lt. Johnson stated in her declaration that this was Sheriff Lovick’s
signature. (Johnson Decl. at 8.) During her deposition, however, she testified that the signature was her own and
that Undersheriff Davis, not Sheriff Lovick, made the final hiring decision. (Dkt. 188 at 199.) Plaintiffs counsel
agreed during oral argument that it appeared Undersheriff Davis made the final hiring decision.

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the evidence presents a sufficient disagreement to require submission to a jury or whether it is so
one-sided that one party must prevail as a matter of law.” Anderson, 477 U.S. at 251-52. In ruling
on a motion for summary judgment, the Court must draw all reasonable inferences in favor of the
nonmoving party, Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986),
and may not weigh the evidence or make credibility determinations, Anderson, 477 U.S. at 248.

The moving party bears the initial burden of showing “that there is an absence of evidence
to support the nonmoving party’s case.” Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986).
Where the moving party does not bear the burden at trial, it can carry its initial burden by
presenting evidence that negates an essential element of the nonmoving party’s case, or by
establishing that the nonmovant lacks the quantum evidence needed to satisfy its burden at trial.
Nissan Fire & Marine Ins, Co., Ltd. v. Fritz Cos., Inc.,210 F.3d 1099, 1102 (9th Cir. 2000). Where
the moving party bears the burden at trial, it can meet its initial burden by presenting evidence
sufficient to demonstrate that no reasonable trier of fact could find for the nonmoving party; the
evidence presented must establish beyond controversy every essential element of the claim.
Southern Cal. Gas. Co. v. City of Santa Ana, 336 F.3d 885, 888-89 (9th Cir. 2003).

If the moving party meets its initial responsibility, the burden then shifts to the nonmoving
party to establish a genuine issue of material fact for trial. Matsushita Elec. Indus. Co., 475 U.S.
at 585-87. Genuine disputes are those for which the evidence is such that a “reasonable jury could
return a verdict for the nonmoving party.” Anderson, 477 U.S. at 257. Material facts are those
which might affect the outcome of the suit under governing law. Jd. A mere scintilla of evidence
is insufficient to create a factual dispute. Jd. at 252. Likewise, the sonenssine party cannot “defeat
summary judgment with allegations in the complaint, or with unsupported conjecture or

conclusory statements.” Hernandez v. Spacelabs Med. Inc., 343 F.3d 1107, 1112 (9th Cir. 2003).

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2. Discretionary Immunity

In 1961, the Washington State Legislature abolished sovereign immunity. Evangelical
United Brethren Church of Adna v. State, 67 Wash. 2d 246, 252 (1965) (citing RCW 4.92.090).
The Washington Supreme Court subsequently “recognized that, as a matter of public policy, not
every act, omission or decision of government should subject the governmental unit to potential
liability.” Stewart v. State, 92 Wash. 2d 285, 293 (1979) (citing Evangelical). The court thus
created an “extremely limited exception” to the general waiver of sovereign immunity for
discretionary governmental immunity. Jd. “Under this exception, ‘discretionary’ governmental
acts are immune from tort liability whereas ‘ministerial’ or ‘operational’ acts are not.” Taggart v.
State, 118 Wash. 2d 195, 214 (1992) (citing Evangelical, 67 Wash. 2d at 254-55),

In Evangelical, the Washington Supreme Court set forth four preliminary questions to
guide courts in determining whether a challenged decision qualifies as “discretionary”: (1) Does
the challenged decision necessarily involve a basic governmental policy, program, or objective?
(2) Is the decision essential to the realization or accomplishment of that policy, program, or
objective as opposed to one which would not change the course or direction of the policy, program,
or objective? (3) Does the decision require the exercise of basic policy evaluation, judgment, and
expertise on the part of the governmental agency involved? (4) Does the governmental agency
involved possess the requisite constitutional, statutory, or lawful authority and duty to do or make
the challenged decision? Evangelical, 67 Wash. 2d at 255. The court held, “If these preliminary
questions can be clearly and unequivocally answered in the affirmative, then the challenged. . .
decision can, with a reasonable degree of assurance, be classified as a discretionary governmental

process and nontortious, regardless of its unwisdom.” Jd. The court further held that whether

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discretionary immunity applies “should present a question of law,” but in some instances may raise
a mixed question of law and fact. /d. at 253.

Since Evangelical, the Washington Supreme Court has narrowed the discretionary
immunity exception. Taggart, 118 Wash. 2d at 214. In King v. City of Seattle, 84 Wash. 2d 239
(1974), overruled on other grounds by City of Seattle v. Blume, 134 Wash. 2d 243, 259-60 (1997),
the court explained that “the determination of the category into which a particular activity falls
should be guided by the purpose of the discretionary immunity doctrine,” namely to prevent courts
from passing judgment on basic policy decisions that have been committed to coordinate branches
of government. Jd. at 246; Bender v. City of Seattle, 99 Wash. 2d 582, 588 (1983). Thus, “to be
entitled to immunity, the state must make a showing that such a policy decision, consciously
balancing risks and advantages, took place.” King, 84 Wash. 2d at 246. In addition, the basic
policy decision must be made by an executive level officer. Chambers-Castanes v. King County,
100 Wash. 2d 275, 284 (1983) (holding that decision of whether to dispatch a police officer to the
scene of a crime was an “operational” decision not entitled to discretionary immunity); see also
Mason v. Bitton, 85 Wash. 2d 321, 328-29 (1975) (holding that decision by police officers in the
field whether to engage in a high speed chase was “operational” and not a basic policy decision);
Taggart, 118 Wash. 2d at 215 (holding that parole officers’ supervisory decisions are “ministerial,”
not basic policy decisions); Haberman v. Wash. Pub. Power Supply Sys., 109 Wash. 2d 107, 158
(1987) (distinguishing “the implementation of policy,” which is not subject to discretionary
immunity, from “basic policy discretion”).

There is no Washington case addressing discretionary immunity in the hiring context. The

County nevertheless asserts it satisfies the requirements. (Dkt. 160 at 15-17; see also Dkt. 136 at

 

‘4 Because discretionary immunity is court-created, the limitations on statutory immunity provided in RCW 4.24.470
do not apply here, as plaintiff argues. (See Dkt. 187 at 17.)

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7 (County’s answer asserting discretionary immunity as an affirmative defense).) As to the first
Evangelical factor, the County argues that the basic governmental objectives are set forth in RCW
41.14.010, which states that “the general purpose of this chapter is to establish a merit system of
employment for county deputy sheriffs and other employees of the office of county sheriff, thereby
raising the standards and efficiency of such offices and law enforcement in general.” (Dkt. 160 at
15.) Second, the County contends that hiring decisions are essential to meeting this objective, and
the legislature has enacted several statutes laying out the requirements for hiring law enforcement
officers and authorized the Criminal Justice Training Commission to develop standards. (Dkt. 160
at 15 (citing RCW Chapters 41.14, 43.101; WAC Chapters 139-05, 139-07).) Third, the County
argues that the standards for hiring deputies are laid out by statute and code, which implicitly, if
not explicitly, require the sheriff's office to exercise basic policy judgment involving its expertise,
Judgment, and analysis in making hiring decisions. (/d. at 16.) Fourth, the County maintains that
the legislature vested the elected sheriff with the authority to hire in order to meet the objective of
RCW 41.14.010. (Dkt. 160 at 15 (citing RCW 36.16.070 (granting authority to employ deputies),
and Osborn v. Grant Cty. By & Through Grant Cty. Comm'rs, 130 Wash. 2d 615, 622 (1996)
(holding that sheriff has power to hire deputies)).) Finally, the County argues that Deputy Reid,
Lt. Johnson, and Chief Miller each engaged in conscious balancing when they provided
recommendations explicitly highlighting both the positive and negative aspects of Sgt. Boyer’s
application. (/d. at 16-17.) The County points to the fact that Lt. Johnson specifically flagged the
adverse sections of Sgt. Boyer’s application so Undersheriff Davis could consider the potential
risks and rewards of hiring Sgt. Boyer. (/d. at 16.) According to the County, “There is no evidence
that the Sheriff's Office leadership did not consider the risks and advantages of hiring Set. Boyer

or did not perform a conscious balancing of risk and advantages.” (/d. at 17.)

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Plaintiff responds that the County’s discretionary immunity argument effectively concedes
Undersheriff Davis had the discretion to hire or not hire Sgt. Boyer, which contradicts its
contention that it was statutorily required to hire him if he met the minimum requirements. (Dkt.
187 at 16.) Plaintiff further argues that the County’s background investigation and hiring decision
were not policy decisions potentially subject to discretionary immunity. (/d. at 18.) Plaintiff relies
on Stewart, in which the plaintiff alleged that the State was negligent in designing a bridge where
a motor vehicle accident occurred. 92 Wash. 2d at 292. The Washington Supreme Court held that
discretionary immunity did not bar the jury from considering these claims because Evangelical’s
first and second questions, as modified by King, were not satisfied:

The decisions to build the freeway, to place it in this particular location so as to

necessitate crossing the river, the number of lanes—these elements involve a basic

governmental policy, program or objective. However, these are not the elements

which are challenged by appellant. Rather, appellant argues that once those

governmental decisions were made they had to be carried out without negligent

design of the bridge or of the lighting system. Negligent design was not essential

to the accomplishment of the policy, program or objective.

Id. at 294, Plaintiff claims that as in Stewart, he is not challenging a basic policy decision. (Dkt.
187 at 18.) According to plaintiff, the only basic policy at issue is the “merit system” created by
RCW 41.14. (d.) Plaintiff claims he is not alleging the State was negligent when it created the
statutory requirements, rather he asserts that the County was negligent in implementing RCW
41.14.250 by negligently conducting its background investigation of Sgt. Boyer, determining that
he passed this investigation, and ultimately hiring and retaining him. (/d. at 18-19.) Plaintiff also
relies on Taggart, in which victims of assaults by parolees brought negligent supervision claims
against their attackers’ parole officers. 118 Wash. 2d at 214-15. The Washington Supreme Court

held that the parole officers were not protected by discretionary immunity because their

supervisory decisions were “ministerial” and not “basic policy decisions.” Jd. at 215. Plaintiff

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argues that he challenges “ministerial” decisions like in Taggart, namely Deputy Reid’s failure to
fully investigate Sgt. Boyer’s background, and Deputy Reid’s and Lt. Johnson’s failure to give
Set. Boyer’s negative history proper weight. (Dkt. 187 at 19.)

The Court agrees with plaintiff that the decisions at issue here were operational or
ministerial.'* As plaintiff points out, the Washington Supreme Court has held that whether to build
a freeway, where to put the freeway, and the number of lanes are basic policy decisions, whereas
the design of the freeway bridge crossing a river and the design of the lighting system for the
bridge do not involve policy. Stewart, 92 Wash. 2d at 294. The court has also held that the decision
to build a nuclear power plant is arguably a basic policy decision, whereas “the means by which
[the] decision [is] carried out” is not protected by immunity. Haberman, 109 Wash. 2d at 158.
The Court would agree that the City and County’s decision to enter into the Interlocal, whereby
the County would hire City police officers who met its minimum qualifications, is a basic policy
decision similar to the decision to build a freeway or nuclear power plant in Stewart and
Haberman. In contrast, the application of the Interlocal in making a hiring decision is an
implementation of a policy decision, and therefore operational in nature. Plaintiff challenges the
method by which the background investigation was conducted and the County’s conclusion that
Sgt. Boyer passed the investigation and satisfied the Interlocal criteria. The County is not entitled
to discretionary immunity for the commission of these operational or ministerial activities. See
Taggart, 118 Wash. 2d at 215.

3. Negligent Hiring and Retention

Under Washington law, to hold an employer liable for negligently hiring “an employee

who is incompetent or unfit, a plaintiff must show that the employer had knowledge of the

 

'S Given this conclusion, the Court need not discuss plaintiff's argument that the County failed to show Undersheriff
Davis consciously balanced the risks and advantages of hiring Sgt. Boyer.

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employee’s unfitness or failed to exercise reasonable care to discover unfitness before hiring or
retaining the employee.” Anderson v. Soap Lake Sch, Dist., 191 Wash. 2d 343, 356 (2018)
(emphasis added). “Negligent retention consists of. . . retaining the employee with knowledge of
his unfitness, or of failing to use reasonable care to discover it before . . . retaining him.” Jd. at
358 (internal quotation marks omitted, ellipses in original). The plaintiff also must show that the
negligently hired or retained employee proximately caused the plaintiffs injuries. Carlson v.
Wackenhut Corp., 73 Wash. Ct. App. 247, 253 (1994) (cited with approval in Anderson, 191 Wash.
2d at 356).

Because there is no dispute that Sgt. Boyer caused plaintiff's injuries during the July 2014
incident, causation is readily satisfied. See id. (finding causation where there was no question the
employee caused the plaintiffs injuries). Likewise, there is no dispute that the County had
knowledge of Sgt. Boyer’s background involving Ei ae ee ee
Eee | The County argues that it is entitled to summary judgement because plaintiff cannot
show Sgt. Boyer was unfit given the time that had elapsed since these events, his stellar record as
a City police officer, and the fact that numerous people considered and found him fit for duty,
including Deputy Reid, Sgt. Aston, Lt. Johnson, Chief Miller, the psychologist, the polygraph
examiner, the medical examiner, and Undersheriff Davis. (Dkt. 160 at 11-13.) Plaintiff, however,
has put forth evidence creating a genuine issue of material fact as to Sgt. Boyer’s fitness based on
his history. Scott DeFoe, plaintiffs expert witness, has opined that the County should not have
hired Sgt. Boyer based on the information the County knew about him at the time ofhiring. (Dkt.

198 at 3-11.) Viewing the evidence in the light most favorable to plaintiff, a reasonable juror could

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conclude that Sgt. Boyer was unfit and should not have passed his background investigation or
been hired by the County.!°

The parties also dispute the second avenue by which a plaintiff may establish negligent
hiring and retention: failure “to exercise reasonable care to discover unfitness before hiring or
retaining the employee.” Anderson, 191 Wash. 2d at 356. The County argues that it cannot be
liable for negligent hiring because it complied with all requirements established by state statute
and code, which did not include a background investigation at the time it hired Sgt. Boyer. (Dkt.
160 at 9-11.) However, even where not expressly required by statute or code, background
investigations may be required where “the work is likely to subject third persons to serious risk of
great harm... .” La Lone v. Smith, 39 Wash. 2d 167, 172 (1951) (quoted source omitted); see
also Carlsen, 73 Wash. Ct. App. at 256 (“A jury might conclude that it was reasonable for concert
patrons to look upon [the employee who assaulted a concert goer] as one authorized to perform
security functions, and that, therefore, [the employer] should have more extensively examined
[his] background before hiring him.”). Law enforcement officers fall squarely into this definition.
The Court thus finds that the standard of care required SCSO to conduct a background
investigation.

The County asserts there is no evidence its background investigation was deficient, citing
the opinion of its expert witness that the investigation met or exceeded the industry standard. (Dkt.

160 at 11; Dkt. 161-2 at 6.) The County also maintains that no relevant information was unknown

 

'© The Washington Supreme Court’s decision in Matter of Simmons, 190 Wash. 2d 374 (2018), which the County
cites, does not require a different result. In Simmons, the court considered whether an applicant for the bar was fit or
unfit to practice law given that her background included criminal convictions and drug use. The court determined that
sufficient time had elapsed between her prior conduct ending in 2011 and her 2017 application to show she was fit to
practice law. /d. at 386-87. Given that Simmons did not involve a negligent hiring claim, the Court concludes that it
does not provide a basis upon which to find in the County’s favor as a matter of law. The question of Set. Boyer’s
fitness should be considered by a jury.

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to the SCSO at the time it hired Sgt. Boyer and that SCSO’s leadership duly considered the
information in the background investigation. (Dkt. 160 at 11.) As plaintiff argues, however, there
are disputed issues of material fact regarding the adequacy of the investigation and the information
conveyed to Undersheriff Davis that preclude summary judgment on this issue. Lt. Johnson
testified that Deputy Reid should have followed up on inconsistencies he discovered. (Dkt. 188 at
206 (Johnson testimony that “if there’s any questions, if there’s any differences between what is
divulged and what the police report says,” the background investigator should follow up).) There

are at least three inconsistencies in the record that Deputy Reid did not investigate further. Jj

Because

Deputy Reid’s memo does not accurately reflect the second two inconsistencies, his superiors did
not have the opportunity to take them into account or ask the deputy to conduct further
investigation. In addition, as noted above, the Court must assume that the Arlington police report
was not included in the final application packet Undersheriff Davis reviewed and therefore he did
not have the opportunity to learn the details of this assault prior to making the hiring decision.

Viewing this evidence in the light most favorable to plaintiff, the Court concludes that a reasonable

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jury could find the County’s investigation was inadequate to discover whether Sgt. Boyer was fit
to serve as a law enforcement officer.!’

Anderson, which the County highlighted during oral argument, does not require a different
result. In Anderson, the plaintiff argued that the defendant school district negligently retained a
basketball coach because of his disregard for and violation of school policies regarding students
and alcohol. 191 Wash. 2d at 358. According to the plaintiff, the district failed to adequately
check the coach’s background because the school principal could not recall whether he contacted
the coach’s references. /d. at 358-59. The court held that even assuming no one checked the
coach’s references, the plaintiff failed to present any evidence showing that the references knew
the coach gave alcohol to minors or that this was a fact the district would have reasonably
discovered had it contacted his references. Jd. at 359. The court also noted that the district ran a
background check, which did not uncover anything that would indicate the coach was unfit. Jd.
Unlike in Anderson, where there was no evidence suggesting the coach was unfit, Sgt. Boyer’s
application and SCSO’s background investigation disclosed information that raised or should have
raised questions regarding his fitness to serve as a law enforcement officer. The background
investigation also revealed inconsistencies that Deputy Reid did not follow up on or disclose to his
superiors. Given this record, the Court concludes a jury must decide whether the County failed to

exercise reasonable care to discover unfitness prior to hiring Sgt. Boyer.

 

'7 Plaintiff also argues that investigation was inadequate because the County used an undertrained, brand new
background investigator to conduct the investigation, pointing to the fact that Deputy Reid received four hours of
training on conducting background investigations and that this was either his first or second investigation. (Dkt. 187
at 18-20.) But the mere fact that this was Deputy Reid’s first or second background investigation does not support the
conclusion that he acted negligently. Additionally, there is no evidence in the record that four hours of training is
insufficient to instruct an experienced deputy how to properly conduct a background investigation. Plaintiff's
assertion that Deputy Reid was unqualified is unsupported conjecture insufficient to create a genuine issue of material
fact. See Hernandez, 343 F.3d 1112 (unsupported conjecture insufficient to defeat properly supported motion for
summary judgment).

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B. Motions to Seal

“[T]he courts of this country recognize a general right to inspect and copy public records
and documents, including judicial records and documents.” | Nixon v. Warner Communications,
Inc., 435 U.S. 589, 597 (1978) (footnotes omitted). The right is justified by citizens’ interest in
“keep[ing] a watchful eye on the workings of public agencies.” Jd. at 598. There is a “strong
presumption in favor of access to court records.” Foltz v. State Farm Mutual Auto. Ins. Co., 331
F.3d 1124, 1134 (9th Cir. 2003). To overcome this presumption when dispositive motions and
related attachments are at issue, the party seeking to seal the records must meet the “compelling
reasons” standard. Jd. (quoting Foltz, 331 F.3d at 1135). To do so, “the party must articulate
compelling reasons supported by specific factual findings that outweigh the general history of
access and the public policies favoring disclosure, such as the public interest in understanding the
judicial process.” Jd. at 1178-79 (internal citation, quotation, and alterations omitted). Then “the
court must conscientiously balance the competing interests of the public and the party who seeks
to keep certain judicial records secret.” Jd. at 1179 (internal quotation and alteration omitted).
“After considering these interests, if the court decides to seal certain judicial records, it must ‘base
its decision on a compelling reason and articulate the factual basis for its ruling, without relying
on hypothesis or conjecture.’” Jd. (quoted source omitted). Compelling reasons generally exist
when the “‘court files might have become a vehicle for improper purposes,” such as the use of
records to gratify private spite, promote public scandal, circulate libelous statements, or release
trade secrets.” /d. (quoting Nixon, 435 U.S. at 598). “The mere fact that the production of records
may lead to a litigant’s embarrassment, incrimination, or exposure to further litigation will not,

without more, compel the court to seal its records.” /d. The compelling reasons standard must be

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met “even if the dispositive motion, or its attachments, were previously filed under seal or
protective order.” Jd.

The County!’ seeks to have the following maintained under seal: documents related to the
Arlington assault, including the police report and Cascade District Court sentence form (Dkt. 162);
emails between counsel for the parties regarding the Arlington assault and one other incident in
Sgt. Boyer’s past (Dkt. 188 at 227-229); documents that were part of Sgt. Boyer’s SCSO and City
of Snohomish application packages and background investigations (Dkts. 164, 165, 167-169, 188
at 3-160); excerpts from the depositions of Deputy Reid, Lt. Johnson, Sgt. Boyer, Ms. Wilson, and
Mr. DeFoe, which discuss information Sgt. Boyer disclosed in his applications and as a part of the
background investigations (Dkt. 188 at 162-225, 231-264); Mr. DeFoe’s expert report, which
discusses the same type of information (Dkt. 189); and unredacted versions of the County’s motion
for summary judgment and plaintiff s opposition brief, which include the same type of information
(Dkts. 160, 187). (See Dkts. 158, 183.)

The Court finds that compelling reasons do not justify the sealing of the documents related
to the Arlington assault. (Dkt. 162.) The County seeks to seal these records under the Washington
Criminal Records Privacy Act (“CRPA”). The CRPA provides that “[c]onviction records may be
disseminated without restriction,” but the statute limits the dissemination of “[c]riminal history
record information which includes nonconviction data.” RCW 10.97.050. The statute defines |:
“nonconviction data” as “all criminal history record information relating to an incident which has
not led to a conviction or other disposition adverse to the subject, and for which proceedings are
no longer actively pending.” RCW 10.97.030(8). “Criminal history record information” is defined

as “information contained in records collected by criminal justice agencies, other than courts, on

 

'§ There are two pending motions to seal. The County filed the first, and plaintiff filed the second at the request of the
county, although he disagreed that the documents should be filed under seal. (See Dkt. 183 at 1-2.)

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individuals, consisting of identifiable descriptions and notations of arrests . . . or other formal
criminal charges, and any disposition arising therefrom... .” RCW 10.97.030(2). “Conviction
or other disposition adverse to the subject” expressly includes “a dismissal entered after a period
of probation... .” RCW 10.97.030(2). Sgt. Boyer was sentenced to 12 months probation for the
Arlington assault and then the charges against him were dismissed. Thus, these records are not
protected by the CRPA and should not be maintained under seal. See State v. Riley, 143 Wash.
Ct. App. 41, 45 (2008) (holding that a conviction that led to a dismissal entered after a period of
probation was not protected by the CRPA as nonconviction data).

Likewise, compelling reasons do not justify sealing counsel’s email exchange regarding
the Arlington assault, which plaintiff filed to establish a material fact regarding whether the
Arlington police report was included in the final application packet given to Undersheriff Davis.
(Dkt. 188 at 227-229.) But rather than unsealing the document currently on the docket, the Court
deems it more appropriate for plaintiff to file an unsealed version of the email exchange that redacts
references to events in Sgt. Boyer’s past other than the Arlington assault.

With respect to the remaining documents at issue, however, the Court has carefully
considered the parties’ briefing and finds compelling reasons to maintain them under seal at this
stage in the litigation. The sensitive nature of the personal information contained in these
documents—including but not limited to events that occurred when Sgt. Boyer was a minor,
nonconviction data, and applications for public employment—and the potential injury to Sgt.
Boyer and his family from disclosure of these documents outweigh the public’s interest at this
time. In addition, as the Court recommends denying the motion for summary judgment, this case

is likely to proceed to trial, at which time the parties will be able to revisit what information should

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be admitted and presented to the public. The parties also may move to unseal the documents
currently maintained under seal, as appropriate.
IV. CONCLUSION

The Court GRANTS in part and DENIES in part the motions to seal (Dkts. 158, 183).
The Clerk shall maintain the seal on Docket Numbers 160, 164, 165, 167-169, and 187-189. The
Clerk shall remove the seal on Docket Number 162 on December 11, 2019, unless objections to
this order are filed by that date. Also by December 11, 2019, plaintiff shall file an unsealed
redacted version of the email exchange regarding the Arlington assault.

The Court RECOMMENDS that the County’s motion for summary judgment (Dkts. 159,
160) be DENIED. A proposed order accompanies this Report and Recommendation.

Objections to this Report and Recommendation, if any, should be filed with the Clerk and
served upon all parties to this suit within fourteen (14) days of the date on which this Report and
Recommendation is signed. Failure to file objections within the specified time may affect your
right to appeal. Objections should be noted for consideration on the District Judge’s motions
calendar for the third Friday after they are filed. Responses to objections may be filed within
fourteen (14) days after service of objections. If no timely objections are filed, the matter will

be ready for consideration by the District Judge on December 13, 2019.

Thad Derrt

Mary Alice Theiler
United States Magistrate Judge

Dated this 27th day of November, 2019.

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